UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA

CIVIL NUMBER 1:23-CV-270 FILED
ASHEVILLE,NC | *->
JUL 15 2024
MACKENZIE ELAINE BROWN U.S. DISTRICT COURT

W. DISTRICT OF N.C.
Plaintiff .

PLAINTIFF ’s
RESPONSE IN
HENDERSON COUNTY SHERIFF'S OPPOSITION OF
OFFICE, et al. DEFENDANT'S MOTION

‘Defendants To DT SM TSS
AMENDED COMPLAINT

Plaintiff, Mackenzie BRiaine Brown, on this day of

—
al Als (‘L , 2024, respectfully asks the Honorable Court to
deny the Motion to Dismiss filed by Defendants Susan N. Oates and
Emily Greene Cowan, (collectively the Judicial Defendants). The
Defendants’ Motion to Dismiss was filed as Document 41 on May 28,
2024, on behalf of their attorney, Elizabeth Curran O’Brien. The
Motion to Dismiss was filed in response to Plaintiff’s Amended

Complaint, which was filed as Document 32 on April 15, 2024,

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Dated: Ju ly i {LOLA

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Mackenzie Elaine Brown,

Plaintiff & Pro Se Litigant

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E; mackenziebo897@ gmail.com

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CERTIFICATE OF SERVICE

I certify that I filed the foregoing to the U.S. Clerk of Courts Office, and mailed

a copy to the following attorney's of the Defendants:

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&

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Dated: July 2 LOLA

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